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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In re:                                     )
                                           )                    Chapter 7
Arthur B. Adler and Associates, Ltd.,      )                    Case No. 17 B 11697
                                           )
                                   Debtor. )                    Hon. Jack B. Schmetterer
                                           )                    Bankruptcy Judge
__________________________________________)


                TRUSTEE’S WITNESS LIST FOR HEARING ON DAMAGES

         David P. Leibowitz, Trustee (the “Trustee”) for the estate of Arthur B. Adler and Associates,

Ltd. (“Debtor”), hereby files his witness list for the hearing commencing on November 19, 2018, at

1:30 p.m., pursuant to this Court’s Final Pretrial Order entered on September 5, 2018 [dkt #163]:

                            WITNESSES THAT WILL BE CALLED:

         1. David P. Leibowitz, Trustee: The Trustee will testify, inter alia, regarding his engagement

            of forensic accountants in order to determine the extent of post-petition diversion to Adler

            personally of checks and remittances payable to the Debtor for the benefit of its clients;

            the efforts to obtain the banking documents necessary to that forensic analysis, including,

            without limitation, the motions for Rule 2004 examinations of the financial institutions

            involved, the preparation and filing of pleadings responding to Adler’s objections to said

            motions, the preparation and service of subpoenas for the production of the banking

            documents, and the payment of production fees assessed by the banks in connection

            therewith; and the fees and expenses incurred by the Trustee’s counsel as a result of the

            actions taken by Arthur Adler in violation of the automatic stay and which gave rise to the

            Court’s contempt finding.
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       2. Alan D. Lasko: Mr. Lasko will testify regarding the contents of his expert report, including

          the calculation of the extent of post-petition diversion to Adler personally of checks and

          remittances payable to the Debtor for the benefit of its clients. He will also testify

          regarding the fees and expenses incurred in connection with the forensic analysis and

          preparation of his expert report.




Date: October 29, 2018                        DAVID P. LEIBOWITZ, not individually, but as
                                              the Chapter 7 Trustee of the Debtor’s Estate
                                              By: /s/ David P. Leibowitz
                                                 David P. Leibowitz (ARDC # 1612271)
                                                 Lakelaw
                                                 53 West Jackson Boulevard, Suite 1115
                                                 Chicago, Illinois 60604
                                                 312.360.1501
